              Case 6:19-cv-01364-AA               Document 12               Filed 09/13/19   Page 1 of 5




KEVIN H. KONO, OSB #023528
kevinkono@dwt.com
ASHLEE AGUIAR, OSB #171940
ashleeaguiar@dwt.com
1300 S.W. Fifth Avenue, Suite 2400
Portland, Oregon 97201-5610
Telephone: (503) 241-2300

FREDERICK B. BURNSIDE, OSB #096617
fredburnside@dwt.com
920 Fifth Avenue, Suite 3300
Seattle, Washington 98104-1610
Telephone: (206) 757-8016

         Attorneys for Defendant JPMorgan Chase Bank, N.A.


                               IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                         EUGENE DIVISION

Dennis Raybould,

                                   Plaintiff,                         Case No. 6:19-cv-01364-AA

         v.                                                           DECLARATION OF KEVIN H. KONO
                                                                      IN SUPPORT OF REQUEST FOR
RUSHMORE LOAN MANAGEMENT                                              JUDICIAL NOTICE
SERVICES, LLC;

JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION, WHOSE ADDRESS IS 700
Kansas Lane, MC 8000, MONROE, LA 71203,
(ASSIGNOR),
RMAC TRUST, SERIES 2016-CTT,

U.S. BANK NATIONAL ASSOCIATION,
NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS TRUSTEE FOR THE RMAC
TRUST, SERIES 2016-CTTT, whose address is
60 LIVINGSTON AVENUE, ST. PAUL, MN
55107-2292, ITS SUCCESSORS AND
ASSIGNS, (ASSIGNEE)

                                   Defendants.




Page 1 – DECLARATION OF KEVIN H. KONO IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                  DAVIS WRIGHT TREMAINE LLP
4822-9938-8580v.1 0036234-000846                   1300 S.W. Fifth Avenue, Suite 2400
                                                      Portland, Oregon 97201-5610
                                                (503) 241-2300 main  (503) 778-5299 fax
              Case 6:19-cv-01364-AA        Document 12               Filed 09/13/19   Page 2 of 5




         I, Kevin H. Kono, declare pursuant to 28 U.S.C. § 1746 as follows:

         1.        I am one of the attorneys representing defendant JPMorgan Chase Bank, N.A.

(“Chase”) in the above-referenced matter. I make this declaration in support of Chase’s Request

for Judicial Notice and Motion to Dismiss Complaint. I have personal knowledge of and am

competent to testify regarding all matters contained herein.

         2.        Attached hereto as Exhibit 1 is a copy (with redactions required by Fed. R. Civ.

P. 5.2 and LR 5.2) of a recorded deed of trust dated February 1, 2006, under which Dennis

Raybould and Diane Raybould granted a security interest to Chase Bank USA, N.A. in real
property located at 88915 Bay Berry Lane, Florence, OR 97431, to secure loan obligations under

the $237,600 note referenced therein, which I caused to be obtained from the public records

available through the Lane County Clerk’s Office.

         3.        Attached hereto as Exhibit 2 is a copy of the complaint filed in Oregon state court

and removed to this Court in Raybould v. JP Morgan Chase Bank, N.A., United States District

Court for the District of Oregon, Case No. 6:12-cv-01198-PA (with redactions required by Fed.

R. Civ. P. 5.2 and LR 5.2), which I caused to be obtained from the Court’s electronic filing

system.

         4.        Attached hereto as Exhibit 3 is a copy of the complaint filed in Oregon state court
and removed to this Court in Raybould v. JP Morgan Chase Bank, N.A., United States District

Court for the District of Oregon, Case No. 6:13-cv-01966-TC, which I caused to be obtained

from the Court’s electronic filing system.

         5.        Attached hereto as Exhibit 4 is a copy of the Order Affirming Judgment filed in

Raybould v. JP Morgan Chase Bank, N.A., United States Court of Appeal for the Ninth Circuit,

Case No. 15-35158, which I caused to be obtained from the court’s electronic filing system.

         6.        Attached hereto as Exhibit 5 is a copy of the docket in JPMorgan Chase Bank,

National Association v. Raybould, et al., in the Circuit Court for the State of Oregon for the


Page 2 – DECLARATION OF KEVIN H. KONO IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                           DAVIS WRIGHT TREMAINE LLP
4822-9938-8580v.1 0036234-000846            1300 S.W. Fifth Avenue, Suite 2400
                                               Portland, Oregon 97201-5610
                                         (503) 241-2300 main  (503) 778-5299 fax
              Case 6:19-cv-01364-AA        Document 12               Filed 09/13/19   Page 3 of 5




County of Lane, Case No. 15CV14566 (the “State Court Action”), which I caused to be obtained

through Oregon eCourt Case Information.

         7.        Attached hereto as Exhibit 6 is a copy of the complaint in the State Court Action,

which I caused to be obtained from the court docket available through Oregon eCourt Case

Information.

         8.        Attached hereto as Exhibit 7 is a copy of the Second Amended Answer,

Affirmative Defenses and Amended Counterclaims and Third-Party claims filed by plaintiff in

the State Court Action, which I caused to be obtained from the court docket available through
Oregon eCourt Case Information.

         9.        Attached hereto as Exhibit 8 is a copy of the court’s Order granting JPMorgan

Chase Bank, N.A. and counter-defendants Chase Bank USA, N.A. and Chase Home Finance

LLC’s Motions to Dismiss and to Strike Counter-Plaintiffs’ Counterclaims and Defenses in the

State Court Action, without leave to amend, which I caused to be obtained from the court docket

available through Oregon eCourt Case Information.

         10.       Attached hereto as Exhibit 9 is a copy of the court’s Order of Default entered in

the State Court Action, which I caused to be obtained from the court docket available through

Oregon eCourt Case Information.
         11.       Attached hereto as Exhibit 10 is a copy of the court’s Limited Judgment of

Dismissal entered in the State Court Action, which I caused to be obtained from the court docket

available through Oregon eCourt Case Information.

         12.       Attached hereto as Exhibit 11 is a copy of JPMorgan Chase Bank, N.A.’s Motion

for Summary Judgment entered in the State Court Action, which I caused to be obtained from the

court docket available through Oregon eCourt Case Information.

         13.       Attached hereto as Exhibit 12 is a copy of Plaintiff’s opposition to JPMorgan

Chase Bank, N.A.’s Motion for Summary Judgment entered in the State Court Action, which I

caused to be obtained from the court docket available through Oregon eCourt Case Information.
Page 3 – DECLARATION OF KEVIN H. KONO IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                           DAVIS WRIGHT TREMAINE LLP
4822-9938-8580v.1 0036234-000846            1300 S.W. Fifth Avenue, Suite 2400
                                               Portland, Oregon 97201-5610
                                         (503) 241-2300 main  (503) 778-5299 fax
            Case 6:19-cv-01364-AA          Document 12               Filed 09/13/19   Page 4 of 5




         14.       Attached hereto as Exhibit 13 is a copy of the court’s Order granting JPMorgan

Chase Bank, N.A.’s motion for summary judgment in the State Court Action, which I caused to

be obtained from the court docket available through Oregon eCourt Case Information.

         15.       Attached hereto as Exhibit 14 is a copy of Plaintiff’s Adversary Complaint in

Adversary Proceeding No. 17-06057-tmr, in the United States Bankruptcy Court for the District

of Oregon, Eugene Division, which I caused to be obtained from the court’s electronic filing

system.

         16.       Attached hereto as Exhibit 15 is a copy of the docket in Raybould v. Rushmore
Loan Management Services LLC, et al., in the Circuit Court for the State of Oregon for the

County of Lane, Case No. 19CV30797, which I caused to be obtained through Oregon eCourt

Case Information.

         In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge and belief.

         Dated: September 13, 2019.


                                                               s/ Kevin H. Kono
                                                               Kevin H. Kono
                                              .




Page 4 – DECLARATION OF KEVIN H. KONO IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                           DAVIS WRIGHT TREMAINE LLP
4822-9938-8580v.1 0036234-000846            1300 S.W. Fifth Avenue, Suite 2400
                                               Portland, Oregon 97201-5610
                                         (503) 241-2300 main  (503) 778-5299 fax
            Case 6:19-cv-01364-AA          Document 12               Filed 09/13/19   Page 5 of 5




                                    CERTIFICATE OF SERVICE

    I hereby certify that I served a copy of the foregoing DECLARATION OF KEVIN H.
KONO IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE on:

                   Dennis Raybould
                   P.O. Box 241
                   Florence, OR 97431
                   (541) 997-1311
                   Plaintiff in Pro Se

              by causing to be mailed a copy thereof in a sealed, first-class postage prepaid
envelope, addressed to said party’s last-known address and deposited in the U.S. mail at
Portland, Oregon on the date set forth below;

               by sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to said party’s last-known address on the date set forth below; and/or

                   by emailing a copy thereof to said party at his/her last-known email address as set
forth above.
         Dated this 13th day of September, 2019.

                                         DAVIS WRIGHT TREMAINE LLP



                                         By: s/ Kevin H. Kono
                                            Kevin H. Kono, OSB #023528
                                            Ashlee Aguiar, OSB #171940
                                            Of Attorneys for Defendant JPMorgan Chase Bank,
                                            N.A.




Page 1 - CERTIFICATE OF SERVICE
                                           DAVIS WRIGHT TREMAINE LLP
4822-9938-8580v.1 0036234-000846            1300 S.W. Fifth Avenue, Suite 2400
                                               Portland, Oregon 97201-5610
                                         (503) 241-2300 main  (503) 778-5299 fax
